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 1   George Wentz, Jr. (admitted via pro hac vice)
 2   Davillier Law Group, LLC
     414 Church St., Suite 308
 3   Sandpoint, ID 83864
 4   Alexander Kolodin (SBN 030826)
     Arno T. Naeckel (SBN 026158)
 5
     Davillier Law Group, LLC
 6   4105 North 20th Street, Suite 110
     Phoenix, AZ 85016
 7
     Telephone: (602) 730-2985
 8   gwentz@davillierlawgroup.com
     akolodin@davillierlawgroup.com
 9   anaeckel@davillierlawgroup.com
10
     Matthew W. Schmidt (Pro hac vice application forthcoming)
11   BALESTRIERE FARIELLO
     225 Broadway, 29th Floor
12
     New York, New York 10007
13   Telephone: (212) 374-5401
     matthew.schmidt@balestrierefariello.com
14

15                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ARIZONA
16

17   RYAN COX, individually, and for all
     others similarly situated,
18

19                      Plaintiffs,
                                                 Case No. 3:21-cv-08197-SMB
20
           –against–
21                                                   PLAINTIFF’S RESPONSE TO
                                                     MOTION TO DISMISS BY
22   COINMARKETCAP OPCO, LLC;                        DEFENDANTS BINANCE
23   BINANCE CAPITAL MANAGEMENT                      CAPITAL MANAGEMENT CO.,
     CO., LTD. D/B/A/ BINANCE AND                    LTD. D/B/A/ BINANCE AND
24   BINANCE.COM; BAM TRADING                        BINANCE.COM, ZHAO, HE, AND
25   SERVICES INC. D/B/A BINANCE.US;                 LIN
     CHANGPENG ZHAO; CATHERINE
26   COLEY; YI HE; TED LIN; and DOES I-
27
     X,

28                      Defendants.
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 1            Pursuant to Federal Rule of Civil Procedure (“Rule”) 12(b)(2), 12(b)(5), and
 2   12(b)(6), Plaintiff Ryan Cox (“Cox”), individually, and for all others similarly
 3   situated (the “Class”), hereby files his Response to the Motion to the Dismiss (Dkt.
 4   No. 71, “Motion”) by Defendants Binance Capital Management Co. Ltd.
 5   (“Binance”), Changpeng Zhao (“Zhao”), Yi He (“He”), and Ted Lin (“Lin”) (Zhao,
 6   He, and Lin collectively referred to as the “Individual Defendants”).
 7                   MEMORANDUM OF POINTS AND AUTHORITIES
 8   I.       INTRODUCTION
 9            Binance and the Individual Defendants, along with Defendants Bam Trading
10   services Inc. d/b/a Binance.US (“Binance.US”) and CoinMarketCap Op Co, LLC
11   (“CoinMarketCap.Com”), peddled a false ranking of cryptocurrencies to artificially
12   suppress the value of HEX, a cryptocurrency that threatened its own business and
13   investments. Such a false representation of ranking in the cryptocurrency industry,
14   which supposedly represents the relative position of a cryptocurrency by market
15   capitalization, is in violation of the federal Commodity Exchange Act (“CEA”) and
16   the Arizona Consumer Fraud Act (“ACFA”). This action seeks to redress the rights
17   afforded to Plaintiff and the Class, which represents all HEX owners who sold HEX
18   during the artificial deflation of HEX (the “Suppression Period”).
19            First, this Court has personal jurisdiction over Binance because the CEA
20   provides the action may be brought wherein the act or transaction constituting the
21   violation occurs. 7 U.S.C. § 25(c). Further, the Court has personal jurisdiction over
22   Binance because it acted as the alter ego of Defendant Binance.US. Plaintiff has
23   alleged that there is such unity of interest and ownership between Binance and
24   Binance.US because Binance.US utilizes Binance’s ecosystem, and would-be
25   Binance users in the United States are redirected to Binance.US. But the unity of
26   interest and ownership does not stop there: the CEO of Binance.US, Catherine
27   Coley (“Coley”), provided that she reported to Binance.US’s Board of Directors,
28   and at least two of the Board members had a controlling interest in Binance.
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 1   (Compl. ¶ 201.) This Court has personal jurisdiction over Binance because it acted
 2   as the alter ego of Binance.US.
 3         Second, Plaintiff pleads claims under the CEA warranting dismissal of
 4   Binance’s Motion. As discussed in Plaintiff’s responses to motions to dismiss by
 5   Binance.US and CoinMarketCap.Com, Binance had the ability to influence market
 6   prices because it knowingly directed users to false information available on
 7   CoinMarketCap.Com, its subsidiary and strategic partner, which then lied to its
 8   users about HEX’s ranking. For example, during the Suppression Period, when
 9   other websites had ranked HEX between fourth                  and tenth     in size,
10   CoinMarketCap.Com ranked HEX at 201—yet Binance and Binance.US directed its
11   users to CoinMarketCap.Com for “objective” information. As a result, the lies by
12   Binance, Binance.US, and CoinMarketCap.Com deflated the cryptocurrency’s
13   value during the Suppression Period. Binance planned, permitted, and authorized
14   this scheme because HEX, a cryptocurrency designed to discourage active trading
15   with its high-yield interest rates, was a threat to Binance—which relies on active
16   trading to make money. The Court should allow Plaintiff to proceed with his CEA
17   claims against Binance.
18         Plaintiff also pleads claims under the ACFA warranting dismissal of
19   Binance’s Motion. The ACFA seeks to protect consumers within Arizona from any
20   deception or unfair act or practice. Plaintiff has alleged all the necessary elements
21   for a claim under the ACFA: (1) Binance misrepresented the true ranking of HEX
22   through CoinMarketCap.Com, which it deemed as “objective” (while other
23   websites ranked HEX as between fourth and tenth in size, CoinMarketCap.Com
24   ranked HEX at 201) (2) Binance’s misrepresentations occurred in connection with
25   advertising itself as a place to buy and sell cryptocurrency, and (3) Plaintiff
26   occurred injury when Binance failed to disclosure the true ranking of HEX, which
27   he relied on to sell HEX during the Suppression Period. The Court should allow
28   Plaintiff to proceed with his claims under the ACFA.
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 1           Third, service on the Individual Defendants was proper. Pursuant to Rule 4,
 2   this Court has discretion to determine when alternative service is required. In fact,
 3   this Court recognized its authority under Rule 4(f)(3) and authorized alternative
 4   service because the Individual Defendants were “international ghosts” who
 5   dodged Plaintiff’s diligent attempts to serve the Summons and Complaint in this
 6   action. With vast wealth at their command, the Individual Defendants have been
 7   able to dodge regulators and investigations funded by governments, let alone
 8   private citizens seeking to hold them accountable for their actions. Thus, the Court
 9   authorized service by tweeting a copy of the summons and a link to the Complaint
10   to the verified Twitter accounts the Individual Defendants. (Dkt. No. 54.)
11   Therefore, it was appropriate that this Court permitted Plaintiff to serve the
12   Individual Defendants by alternative means.
13           The Court should find that it has personal jurisdiction over Binance and the
14   Individual Defendants, that service was proper, and that Plaintiff has pleaded
15   claims under the CEA and ACFA.
16   II.     STATEMENT OF FACTS 1
17                Ranking Websites Are Integral to the Cryptocurrency Industry
18           In September 2018, Nic Carter (“Carter”), who is a partner at venture capital
19   firm Castle Island Ventures, and co-founder of CoinMetrics.io, detailed the
20   relationship between exchanges (a platform on which individuals can buy and sell
21   cryptocurrency), coin ranking websites (rankings are usually based on a
22   cryptocurrency’s relative position by its market capitalization), and retail investors
23   (who are mainly non-professional investors). (Compl. ¶ 6.) Carter warned in his
24   article that ranking websites:
25           [O]ccupy a fêted position in the industry. Ostensibly, they perform a
26           useful service to investors and receive little in return aside from ad

     1 Plaintiff asserts substantially similar Statement of Facts in his simultaneous
     responses to Defendants’ motions to dismiss (Dkt. Nos. 70–72.)
                                               3
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 1          revenue. But the under-reported reality is more sinister. Rankings sites
 2          are squarely at the center of the extractive game that siphons money
 3          from retail investors and deposits it into the pockets of altcoin creators
 4          and exchange operators.
 5   (Id. ¶ 6.) Carter further explained that:
 6          Many if not most exchanges have affiliate schemes, and referral links
 7          (“reflinks”) can be a lucrative source of revenue if you are the
 8          intermediary between active traders and exchanges” and that
 9          “investors go to [coin rankings] sites to find links to exchanges where
10          they can trade their coins of choice, especially if they are smaller
11          projects and do not have many points of liquidity. Since the rankings
12          sites are the ports of call for investors, they have an almost captive
13          audience and can easily monetize with an affiliate link.”
14   (Id. ¶ 7.)
15         CoinMarketCap.Com Emerges as the Largest Player in the Ranking Business
16          CoinMarketCap.Com is one of those websites that rank cryptocurrencies by
17   their market capitalization. (Id. ¶ 80.) CoinMarketCap.Com claims that its mission
18   is to make cryptocurrencies discoverable and efficient globally by empowering
19   retail users with unbiased, high quality, and accurate information by drawing their
20   own informed conclusions. (Id. ¶ 14.) In April 2020, CoinDesk, a popular news
21   website specializing in cryptocurrency, referred to CoinMarketCap.Com as the
22   “dominant data source and go-to platform for asset pricing” in the cryptocurrency
23   space as well as the “first landing page for retail investors[.]” (Id. ¶ 21.) Yet despite
24   its status as “the first port of call for small retail buyers” CoinDesk also noted that
25   “institutional investors [have] spurned the website, particularly after [a report of
26   misconduct on the part of CoinMarketCap.Com was made to the SEC].” (Id.)
27   Nonetheless, Coindesk notes that “exchanges have always used CoinMarketCap[.]”


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 1   (Id.) Today, CoinMarketCap.Com refers to itself as the world’s most-referenced
 2   price-tracking website for crypto-assets. (Id.)
 3           To highlight CoinMarketCap.Com’s powerful influence, Adel de Meyer (“de
 4   Meyer”), the CEO of DAPS Coin, another cryptocurrency, said to Forbes Magazine
 5   that “[a] ranking authority with the size and reputation of CoinMarketCap[.Com]
 6   has the capacity to essentially ‘hide’ a [cryptocurrency] at will.” (Id. ¶ 22.) To “hide”
 7   a cryptocurrency essentially means that CoinMarketCap.Com can manipulate the
 8   ranking of a cryptocurrency and thus suppress the market for such cryptocurrency
 9   (as well as its price). (Id. ¶ 171.)
10           The CEO also provided that CoinMarketCap.Com’s dominance creates an
11   environment      ripe    “for   collusion,   corruption,   and   coercion”    and   that
12   CoinMarketCap.Com has reduced market caps arbitrarily, leaving “investors and
13   traders confused” and “damaging the reputation” of some cryptocurrencies. (Id.
14   ¶ 23.) De Meyer concluded that CoinMarketCap.Com’s flawed rankings were
15   “dangerous” and posed a risk to retail investors. (Id.)
16                              Binance Acquires CoinMarketCap.Com
17           Binance is an exchange that allows individuals to buy and sell
18   cryptocurrencies. (Id. ¶ 5.) In 2019, American regulators banned Binance from
19   operating in the United States. (Id. ¶ 36.) But in response to its ban, Binance launched
20   Binanace.US, an exchange that would “bring the security, speed, and liquidity of
21   Binance[] to North America,” and ensure that Binance was in “full regulatory
22   compliance” through Binance.US. (Id. ¶ 37.) While Binance.US offers a similar
23   interface and feature set to its Binance counterpart, it is also banned in at least seven
24   states in the United States. (Id. ¶¶ 43, 44.) In 2020, Binance acquired
25   CoinMarketCap.Com, which is now a subsidiary of Binance. (Id. ¶ 17.) During the
26   acquisition period, experts in the crypto industry opined that the acquisition was
27   “not very good for the industry given the conflict of interest between the parties
28   missions.” (Id. ¶ 19.) Namely, CoinMarketCap.Com was apparently in the business
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 1   of providing “unbiased, high quality, and accurate information,” and Binance and
 2   Binance.US were exchanges that sought active trading. (Id. ¶ 14.) Today, despite its
 3   ban, Binance has a market capitalization of $1.3 billion and the highest trading
 4   volume of any such exchange, making it the largest cryptocurrency exchange in the
 5   world. (Id. ¶ 26.)
 6            CoinMarketCap.Com’s Lies and Claims It Provides Objective Rankings
 7          CoinMarketCap.Com provides that “it strictly follows and enforces its
 8   independent listing criteria guidelines, circulating supply calculation methods and
 9   liquidity score for how it ranks cryptoassets. Cryptoassets that wish to be listed on
10   CoinMarketCap should follow the guidelines in our listing policy and will be fairly
11   and independently evaluated on their merits. CoinMarketCap’s official ranking
12   criteria is designed to eliminate any possibility of preferential treatment.
13   CoinMarketCap will continue to present the most accurate data on cryptocurrencies
14   to the wider public independently. Our mission at CoinMarketCap has always been
15   to provide all our users with the most accurate and relevant information to select
16   exchanges and tokens to invest and trade in.” (Id. ¶ 76.)
17        During the Suppression Period, CoinMarketCap.Com, Along with Binance and
18                        Binance.US, Artificially Deflated the Price of HEX
19          CoinMarketCap.Com ranked HEX along with other cryptocurrencies based
20   on their market capitalization. (Id. ¶ 80.) In 2020, HEX was the best performing
21   cryptocurrency of 2020. (Id. ¶ 90.) CoinMarketCap.Com, however, ranked HEX at
22   201 that year and refused to adjust its rank based on HEX’s performance as related
23   to other cryptocurrencies. (Id.) CoinMarketCap.Com also ranked Binance Coin and
24   Binance USD, which were issued by its parent company, Binance (meaning Binance
25   and its principals have a financial interest in ensuring the strongest possible
26   demand for Binance Coin and Binance USD. (Id. ¶¶ 99, 102, 104.) On July 21, 2021,
27   CoinMarketCap.Com ranked Binance Coin as the fourth largest cryptocurrency and
28   Binance USD as the tenth largest cryptocurrency. (Id. ¶¶ 101, 105.)
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 1          On July 21, 2021, during the Suppression Period, Nomics (another website
 2   that ranks cryptocurrencies based on their market capitalization) provided that
 3   HEX’s market cap was $85.3 billion—meaning that HEX should have been ranked
 4   third in size. (Id. ¶¶ 106, 107.) CoinMarketCap.Com, however, listed HEX’s market
 5   cap as just over $25.6 billion. (Id. ¶ 108.) Even at a market cap of just over
 6   $25.6 billion, HEX should have been ranked sixth in size. (Id. ¶ 109.) But, on July 21,
 7   2021, CoinMarketCap.Com still ranked HEX at 201 in size. (Id. ¶ 110.) In fact, HEX
 8   only appeared on the third page of CoinMarketCap.Com’s ranking. (Id. ¶ 111.)
 9           At around the same time, smaller ranking websites including Nomics,
10   Coinranking,    Yahoo    Crypto,    TradingView,     Coinpaprika,    Etherscan,   and
11   CryptoCurrencyCap all had HEX ranked between fourth and tenth in size. (Id.
12   ¶ 113.) CoinMarketCap.Com’s failure to accurately rank HEX artificially suppressed
13   HEX’s value because at least some individuals who purchased higher ranked
14   cryptocurrencies would have purchased HEX instead. (Id. ¶ 115.)
15           Defendants Damage Plaintiff and the Class by Suppressing HEX’s Value
16          CoinMarketCap.Com’s failure to accurately rank HEX—and instead
17   outright make false statements to the trading public—has artificially suppressed
18   HEX’s value to the detriment of Plaintiff and those similarly situated. (Id. ¶ 114.)
19   Plaintiff seeks to redress Defendants’ misconduct on behalf of all persons who
20   purchased HEX prior to the Suppression Period but sold HEX during the
21   Suppression Period. (Id. ¶ 146.) But for CoinMarketCap.Com’s failure to accurately
22   rank HEX, Plaintiff and the Class would have sold their shares that were not subject
23   to CoinMarketCap.Com’s intentional suppression. (Id.)
24   III.   LEGAL STANDARD
25          First, the Court has personal jurisdiction over Binance and the Individual
26   Defendants. A plaintiff responding to a motion to dismiss for lack of personal
27   jurisdiction need only make out a prima facie case for jurisdiction at the pleading
28   stage; the plaintiff does not need prove jurisdiction by a “preponderance of the
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 1   evidence.” See Peterson v. Highland Music, Inc., 140 F.3d 1313, 1319 (9th Cir. 1998).
 2   Moreover, in a federal question case involving defendants who reside outside of
 3   the forum state, the issue of personal jurisdiction is governed by the forum state’s
 4   personal jurisdiction rules in the absence of a federal statute governing personal
 5   jurisdiction. See Yahoo! Inc. v. La Ligue Contre Le Racisme Et L’Antisemitisme, 433 F.3d
 6   1199, 1205 (9th Cir. 2006) (providing the standard). Under this standard, the Court
 7   has personal jurisdiction over Binance.US.
 8         Second, the Court should allow Plaintiff and the Class to proceed into
 9   discovery with all of their claims. When reviewing a motion to dismiss for failure
10   to state a claim, the Court must consider all factual allegations in a plaintiff’s
11   complaint as true and draw all reasonable inferences in the plaintiff’s favor. Fed.
12   R. Civ. P. 12(b)(6); Smith v. Jackson, 84 F.3d 1213, 1217 (9th Cir. 1996); see also Bell
13   Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). A district court may not dismiss
14   a complaint for failure to state a claim unless it appears beyond doubt that the
15   plaintiff can prove no set of facts in support of his claims which would entitle him
16   to relief. Barnett v Centoni, 31 F. 3d 813, 816 (9th Cir. 1994). The Court should allow
17   Plaintiff and the Class to proceed with all their claims into discovery.
18   IV.   ARGUMENT
19         A. THIS COURT HAS PERSONAL JURISIDCTION OVER BINANCE
20         AND THE INDIVIDUAL DEFENDANTS
21             1. The CEA Provides Personal Jurisdiction over Binance
22         This Court has personal jurisdiction over Binance because the CEA provides
23   an action may be brought wherein the act or transaction constituting the violation
24   occurs. 7 U.S.C. § 25(c). Minimum contacts with a particular district or state for
25   purposes of personal jurisdiction is not a limitation imposed on the federal courts
26   in a federal-question case by due process concerns. Warfield v. Alaniz, 453 F. Supp.
27   2d 1118, 1127–28 (D. Ariz. 2006) (finding a securities statute authorizing nationwide
28   service of process established personal jurisdiction over defendants); Bulgo v.
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 1   Munoz, 853 F.2d 710, 713 (9th Cir. 1988) (also holding that the district court had
 2   jurisdiction under Section 27 of the Securities Exchange Act). Thus, where a federal
 3   statute, such as 7 U.S.C. § 25(c), confers nationwide service of process, the question
 4   becomes whether the party has sufficient contacts with the United States, not any
 5   particular state. Go-Video, Inc. v. Akai Elec. Co., Ltd., 885 F.2d 1406, 1414 (9th Cir.
 6   1989) (finding personal jurisdiction may be established in any district if sufficient
 7   national contacts are found under a national service statute). There can be no
 8   disputes that Binance has sufficient contacts with the United States, as Binance’s
 9   express intent to launch Binance.US in the United States was to bring the liquidity
10   of Binance to the United States. (Compl. ¶ 37.) This Court has personal jurisdiction
11   over Binance.
12             2. Personal Jurisdiction Over Binance is Also Proper Because Binance
13                Acted as the Alter Ego of Defendant Binance.US and the Individual
14                Defendants
15         This Court has personal jurisdiction over Binance.US because the CEA
16   provides the action may be brought wherein the act or transaction constituting the
17   violation occurs. 7 U.S.C. § 25(c).
18         Further, Court has personal jurisdiction over Binance and Individual
19   Defendants because they acted as the alter ego of Defendant Binance.US (which the
20   Court has personal jurisdiction over, as discussed simultaneously in Plaintiff’s
21   Response to the Motion to Dismiss by Binance.US). To prove personal jurisdiction
22   on an alter ego theory, a plaintiff must show (1) that there is such unity of interest
23   and ownership that separate personalities no longer exist and (2) that failure to
24   disregard their separate identities would result in fraud or injustice. Doe v. Unocal
25   Corp., 248 F.3d 915, 926 (9th Cir. 2001). Binance acted as the alter ego of Defendant
26   Binance.US and the Individual Defendants.
27         First, there is such unity of interest between Binance and Binance.US that
28   separate personalities of the two entities no longer exists. Binance.US operates
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 1   Binance for reasons including (1) Binance takes American users to Binance.US’s
 2   website (assuming that there is a distinction at all) and Binance.US provides
 3   Binance Services, as that phrase is defined in the Binance Terms, in that it utilizes
 4   internet or blockchain technologies developed by Binance and one or more Binance
 5   ecosystem components such as “digital asset trading platform.” (Compl. ¶ 200.) In
 6   an April 2020 Forbes Magazine interview, the CEO of Binance.US, Catherine Coley,
 7   stated that she reported to BAM’s board of directors and that the other two people
 8   on the board were Defendant Zhao and Wei Zho, then Binance’s CFO (id. ¶ 200).
 9   Airbus DS Optronics GmbH v. Nivisys LLC, 183 F. Supp. 3d 986, 992 (D. Ariz. 2016)
10   (alter ego factor may be proved by common officers or directors). Further, Binance
11   and Zhao even own a significant portion of Binance.US. (Compl. ¶ 42.)
12         Second, failure to disregard the separate identities of Binance and
13   Binance.US would result in fraud or injustice. As a Binance Operator, Binance.US
14   is bound by the Binance Terms as well as by the terms of its supposed “brand
15   partnership” with Binance and any technology licenses with Binance. (Id. ¶ 203.)
16   Binance.US is also responsible for ensuring that Binance’s US operations, including
17   those of its Operator and strategic partner CoinMarketCap.Com, comply with
18   American law. (Id. ¶ 204.) These allegations support the exercise of personal
19   jurisdiction over Binance and the Individual Defendants based on the agency test.
20             3. In the Alternative, Plaintiff Should Be Allowed Jurisdictional
21                Discovery
22         Plaintiff requests that if this Court is inclined to grant Binance’s Motion to
23   Dismiss for lack of personal jurisdiction, that this Court wait to do so until such
24   time as sufficient jurisdictional discovery can be taken, allowing the full factual
25   record to be presented to the Court. Laub v. U.S. Dep’t of the Interior, 342 F.3d 1080,
26   1093 (9th Cir. 2003) (“discovery should ordinarily be granted where pertinent facts
27   bearing on the question of jurisdiction are controverted or where a more
28   satisfactory showing of the facts is necessary”); Harris Rutsky & Co. Ins. Servs. v. Bell
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 1   & Clements Ltd., 328 F.3d 1122, 1135 (9th Cir. 2003) (holding that the district court
 2   abused its discretion by failing to allow plaintiff discovery sufficient to
 3   demonstrate jurisdiction over corporate defendant under “alter ego or agency
 4   tests”); Fed. R. Civ. P. 26(d) advisory committee’s note (1993) (noting that discovery
 5   before the Rule 26(f) conference “will be appropriate in some cases, such as those
 6   involving . . . motions challenging personal jurisdiction”). As such, to the extent the
 7   Court believes additional information is needed to determine whether personal
 8   jurisdiction exists over Binance, Plaintiff respectfully requests that the Court permit
 9   jurisdictional discovery.
10         B. PLAINTIFF HAS PROPERLY ALLEGED HIS CLAIMS AGAINST
11         BINANCE
12         Plaintiff respectfully refers the Court to Plaintiff’s Response to Binance.US’s
13   Motion to Dismiss for its response to Binance’s argument on any pleading
14   deficiencies.
15         C. SERVICE ON THE INDIVIDUAL DEFENDANTS WAS PROPER
16         As this Court has already concluded (Dkt. No. 54), alternative service on the
17   Individual Defendants was proper. As argued in prior briefing (Dkt. No. 50),
18   Individual Defendants have ordered their affairs to maintain inaccessibility to the
19   general public. With vast wealth at their command, the Individual Defendants
20   have been able to dodge regulators and investigations funded by governments, let
21   alone private citizens seeking to hold them accountable for their actions. Therefore,
22   it was appropriate that this Court permitted Plaintiff to service by alternative
23   means.
24   V.    CONCLUSION
25         Biance, along with the other Defendants, intentionally lied to investors and
26   provided inaccurate ranking of HEX, which artificially suppressed its value and
27   damaged Plaintiff and the Class. The Court should find that is has personal
28   jurisdiction over Binance because the CEA confers nationwide service of process in
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 1   federal court for federal-question cases without falling short of the requirements of
 2   due process. Further, the Court has personal jurisdiction over Binance because it is
 3   also the alter-ego of Binance.US. Plaintiff and the Class have pleaded claims under
 4   the CEA and ACFA warranting dismissal of Binance’s Motion.
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 1   Dated: July 22, 2022
 2                               By: /s/Arno Naeckel
 3                               George Wentz, Jr. (admitted via pro hac vice)
 4                               Davillier Law Group, LLC
 5                               414 Church St., Suite 308
 6                               Sandpoint, ID 83864
 7                               Telephone: 208-920-6140
 8                               gwentz@davillierlawgroup.com
 9
10                               Alexander Kolodin (SBN 030826)
11                               Arno T. Naeckel (SBN 026158)
12                               Davillier Law Group, LLC
13                               4105 North 20th St. Suite 110
14                               Phoenix, AZ 85016
15                               Telephone: 602-730-2985
16                               akolodin@davillierlawgroup.com
17                               anaeckel@davillierlawgroup.com
18

19                               John G. Balestriere (PHV application forthcoming)
20                               Matthew W. Schmidt (PHV application forthcoming)
21                               BALESTRIERE FARIELLO
22                               225 Broadway, 29th Floor
23                               New York, New York 10007
24                               Telephone: (212) 374-5401
25                               Facsimile:    (212) 208-2613
26                               john.balestriere@balestrierefariello.com
27                               matthew.schmidt@balestrierefariello.com


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 1                             CERTIFICATE OF SERVICE
 2

 3         I certify that on the 22nd day of July 2022, I electronically transmitted the
 4   foregoing document to the Office of the Clerk of the Court, suing CM/EFC System,
 5   for filing and for transmittal of a Notice of Electronic Filing to the CM/EFC
 6   registrants on record.
 7

 8   /s/ Arno Naeckel
 9   Davillier Law Group, LLC
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